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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

 SHONDRA L. WILLIAMS,                       §
                                            §
      Plaintiff,                            §
                                            §
 v.                                         §    Civil Action No. 4:19-cv-00370-P
                                            §
 THE KROGER CO.,                            §
                                            §
      Defendant.                            §

                              ORDER TO SHOW CAUSE

        Per the Court’s January 29, 2020 Order Regarding Defendant’s Motion to Compel

(the “Order”) (ECF No. 13), Defendant The Kroger Co.’s (“Defendant”) and Plaintiff

Shondra Williams’s (“Plaintiff,” and together with Defendant, the “Parties”) were ordered

to confer and make a good-faith effort to resolve their discovery dispute between

themselves. The Court set forth clear deadlines by which the Parties were responsible for

conferring with one another and filing a status update. ECF No. 13. As of the date of this

order, the deadlines in the Order have passed, and neither party has submitted to the Court

any report or update. Under Federal Rule of Civil Procedure 41(b), the Court may sua

sponte dismiss an action if the Plaintiff fails to comply with the Federal Rules of Civil

Procedure or a court order. Link v. Wabash R.R., 370 U.S. 626, 630–31 (1962) (emphasis

added); see FED. R. CIV. P. 41(b).

        Therefore, the Parties are ORDERED to show cause by filing a sworn response to

this order by Wednesday, February 19, 2020. The Parties’ response(s) may be filed
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jointly or separately. The response(s) should address: (1) an explanation why the Parties

have not complied with the Order, (2) an explanation why the Parties should not be

sanctioned, monetarily or otherwise, and (3) the current status of the case.

       IT IS FURTHER ORDERED that because the Court is concerned that counsel for

the Parties are either affirmatively ignoring or misunderstanding legal and ethical

requirements for practice in the Northern District of Texas, on or before Wednesday,

February 19, 2020, each counsel of record in this case shall read: (1) Dondi Properties

Corp. v. Commerce Savings & Loan Assoc., 121 F.R.D. 284 (N.D. Tex. 1988); (2) Local

Civil Rules of the United States District Court for the Northern District of Texas; (3) the

Texas Lawyer’s Creed; and (4) the Texas Rules of Professional Conduct.1

       IT IS FURTHER ORDERED that each counsel of record in this case shall

individually certify to the Court via a filed and sworn affidavit on or before 12:00 p.m. on




       1
         During the remaining pendency of this case, counsel should be particularly mindful
of their obligations under the Texas Lawyer’s Creed. Among other things, as members of
the Texas bar, attorneys: (1) “will always recognize that the position of judge is the symbol
of both the judicial system and administration of justice”; (2) “will refrain from conduct
that degrades this symbol;” (3) “will conduct myself in Court in a professional manner and
demonstrate my respect for the Court and the law”; (4) “will treat counsel, opposing parties,
the Court, and members of the Court staff with courtesy and civility”; (5) “will not engage
in any conduct which offends the dignity and decorum of proceedings”; (6) “will not
knowingly misrepresent, mischaracterize, misquote or miscite facts or authorities to gain
an advantage”; (7) “will respect the rulings of the Court”; and (8) “will give the issues in
controversy deliberate, impartial and studied analysis and consideration.” TEXAS
LAWYER’S CREED—A MANDATE FOR PROFESSIONALISM, reprinted in TEXAS RULES OF
COURT 763–65 (West 2019); cf. GEORGE WASHINGTON, quoted in GREAT QUOTES FROM
GREAT LEADERS 65 (compiled by Peggy Anderson (1990)) (“Strive not with your superiors
in argument, but always submit your judgment to others with modesty.”).
                                             2
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Thursday, February 20, 2020 that they have read, understand, and will comply with these

four documents throughout the remainder of this litigation.

      The Court sets a thirty-minute show cause hearing on Friday, February 21, 2020,

at 10:00 a.m. in the Fifth Floor Courtroom of the Eldon B. Mahon United States

Courthouse, located at 501 W. 10th Street, Fort Worth, Texas. Counsel for all parties are

ORDERED to attend. Counsel should be prepared to answer questions and discuss all

matters currently pending before the Court, including Defendant’s Motion to Compel

Plaintiff’s Discovery Responses and Deposition (ECF No. 12).

      SO ORDERED on this 14th day of February, 2020.




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